                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 ALEXIS ROSITANO,                                )
                                                 )
       Plaintiff,                                )
                                                 )
 v.                                              )   NO. 3:20-cv-00420
                                                 )
 FREIGHTWISE, LLC and                            )
 RICHARD HOEHN, individually,                    )
                                                 )
       Defendant.                                )

                                           ORDER
      The Plaintiff has filed a Stipulation of Dismissal (Doc. No. 68). Accordingly, this action is

DISMISSED WITH PREJUDICE, and the Clerk is directed to close the file.

      IT IS SO ORDERED.



                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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